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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
GALVESTON DIVISION

IN RE: §
OIL PATCH TRANSPORTATION, INC. § Case No. 17-80152
Debtor in Possession § Chapter l 1

DEBTOR’S EMERGENCY MOTION TO CONTINUE

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
YOUR RESPONSE WITHIN 21 DAYS OF THE DA'I`E THIS WAS SERVED ON
YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE
GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY
BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

IMMEDIATE EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE
COURT CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU
WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO THE
REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EMERGENCY
CONSIDERATION IS NOT WARRANTED, YOU SHOULD FILE AN
IMMEDIATE RESPONSE.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

Oil Patch Transportation Inc. (“OPT”) represents:
l. OPT filed the captioned chapter 11 bankruptcy case.
2. Its owner and corporate representative for purposes of testifying at hearing

is Robert Smith.

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3. At approximately 5:00 pm yesterday (August 2, 2017), Mr. Smith learned
that Dot, the wife of his brother, L.C., passed away on August l, 2017 and that L.C.
passed away the next day, August 2, 2017.

4. Mr. Smith is close to his family. The funerals are on Saturday moming,
August 5, 2017 in Mississippi.

5. Mr. Smith plans to travel to Mississippi on Friday August 4, 2017 to
attend the funerals.

6. A hearing on several matters is set for August 4, 2017 at 3:00 p.m. They
are on continued use of cash collateral, the motion for relief from stay of IPFS (docket
no. 48 which has been settled with order to be uploaded) and the motion for relief from
stay of Sun Trust (docket no. 39 which has been settled with order to be uploaded; Sun
Trust and the Debtor have reached an agreement; however, Brazoria County objected to
the Motion. The Debtor does not oppose the relief that Brazoria County seeks).

7. Mr. Smith will not be able to attend the August 4, 2017 hearings because
he will be travelling to the funerals. Mr. Smith anticipates being in Mississippi for one
Week after the funerals and will return to work on August 14, 2017.

8. The purpose of this Motion is not for purposes of delay, but rather to
ensure that justice is done.

9. The Debtor has filed, contemporaneously, a separate motion for continued
and enlarged use of cash collateral.

WHEREFORE, OPT prays that this Court continue all matters to the next
available date in August or September and grant OPT such other and further relief, in law

and in equity, as is just.

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CER'I`IFICATE OF SERVICE

This is to certify that a true and correct copy of the forgoing was served upon
those shown below by either electronic transmission by the Clerk of the Court or by
United States first class mail, postage prepaid on August 3, 2017:

Jay Walton Hurst on behalf of Creditor Texas Comptroller of Public Accounts and
Texas Workforce Cornmission

jay.hurst@texasattorneygeneral. gov and sherri.simpson@texasattorneygeneral.gov

Sameer K Kapoor on behalf of Creditor Sun Trust Bank and
SunTrust Equipment Finance and Leasing Corp
sameer.kapoor@arlaw.com

Steven 'l`. Holmes

Three Energy Square

6688 North Central Expressway, Suite 400
Dallas, Texas 75206
sholmes@mcglinchev.com

Steven A. Leyh on behalf of Creditor Wells Fargo Equipment Finance, Inc.
sleyh@lpmfirm.com, haley@lpmfirm.com;lpm.ecf@gmail.com;aaguilar@lpmflrm.com
Christine A March on behalf of U.S. Trustee US Trustee christine.a.march@usdoj.gov

Frances Anne Smith on behalf of Creditor Signature Financial LLC
fsmith@shackelfordlaw.net, mcoulombe@shackelfordlaw.net

Melvin L Smith, Jr on behalf of Creditor Classic Bank, N.A. mel@mlsesq.com

Owen Mark Sonik on behalf of Creditor Brazoria County Tax Office
osonik@pbfcm.com, tpope@pbfcm.com;osonik@ecf.inforuptcy.com

US Trustee USTPRegi0n07.HU.ECF@USDOJ.GOV

Balboa Capital jay.leal@balboacapital.com

Forward Financing LLC cbarkleyZ@forwardfinancing.com
Stearns Bank emilyd@stearnsbank.com

Rapid Capital Finance, LLC BJohnson@jaffeandasher.com

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City of Pearland
3519 Liberty Drive
Pearland, Texas 77581

Via Email: rruiz@peariandtx.gov

By: Ma,,

Alan S. Ger?/`

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Dated: August 3, 2017 Respectiiilly submitted,

The Gerger Law F`rm, PLLC

  
 

Al S. Gerger
Texas State Bar No 7816350
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ATTORNEY FOR OIL PATCH
TRANSPORTATION INC.

VERIFICATION

My name is Robert Smith, the owner of Oil Patch Transportation, Inc. l am
competent to make this verification l have read the above allegations They are true and
correct.

Sworn to under penalty of perjury in Brazoria County, 'l`exas on August 4, 2017.
f
By:
Robert Smith

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

GALVESTON DIVISION
IN RE: §
OIL PATCH TRANSPORTATION, INC. § Case No. 17-80152
Debtor in Possession § Chapter 11

ORDER ON DEBTOR’S EMERGENCY MOTION TO CONTINUE

All hearings set for August 4, 2017 at 3:00 p.m. in the captioned case are

continued to

 

DATED BY:
MARVIN ISGUR
UNITED STATES BANKRUPTCY JUDGE

 

APPROVED AND ENTRY REQUESTED:
The Gerger Law Firm, PLLC

By:_/i/Alan S. Gerger

Alan S. Gerger

Texas State Bar No. 078163 50
Texas Federal ID 2646

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ATTORNEY FOR OIL PATCH
TRANSPORTATION INC.

